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                      IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                                          NO.   4:97CR00004-002 SWW

MICHAEL BUTLER


                                             ORDER

      The above entitled cause came on for a hearing on petitions to revoke the

supervised released granted this defendant in the United States District Court

for the Eastern District of Arkansas.         Upon the basis of defendant’s admissions,

the Court found that defendant has violated the conditions of his supervised

release without just cause.

      IT IS THEREFORE ORDERED          that the government’s motion and supplemental

motion are granted, and the supervised release previously granted this defendant,

be, and it hereby is, revoked.

      IT IS FURTHER ORDERED that defendant is committed to the custody of the

Bureau of Prisons to serve a term of imprisonment of EIGHTEEN (18) MONTHS.                     The

Court recommends that defendant participate in any drug programs available to him

while incarcerated.

      There   will    be   no   supervised    release    following      defendant’s     term    of

imprisonment.

      The defendant is remanded to the custody of the United States Marshal to

immediately   begin   service     of   the   sentence    imposed   on    this    revocation     of

supervised release.

      IT IS SO ORDERED this 13th day of December, 2006.



                                                     /s/Susan Webber Wright

                                                     UNITED STATES DISTRICT JUDGE
